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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANGELICA JUNIOUS,                            )
                                             )
             Plaintiff,                      )
                                             )       Case No. 1:22-cv-03681
      v.                                     )
                                             )       Honorable Judge Edmond E. Chang
SGT. W. BAKER #3159,                         )
R/O C. CHENGARY #16269,                      )
R/LT PURCELL #758                            )       Magistrate Judge Maria Valdez
JOHN DOE DEPUTY SHERIFFS,                    )
JANE DOE DEPUTY SHERIFFS                     )
COOK COUNTY SHERIFF                          )
TOM DART,                                    )
and COOK COUNTY, ILLINOIS,                   )       JURY DEMAND
                                             )
             Defendants.                     )

                              JOINT STATUS RESOLUTION
A. Nature of the Case
      1. The attorneys of record, including lead trial counsel, are as follows:
             a. Counsel for Plaintiff:
                    Cierra N. Norris (Lead Attorney),
                    Brian Orozco, (Lead Attorney)
                    C. Norris Law Group, LLC
                    900 West Jackson Blvd., Suite 6E
                    Chicago, IL, 60607
             b. Counsel for Defendants:
                    Amanda Christine Guertler
                    Antonio C. Lee, (Lead Attorney),
                    Cook County State’s Attorney’s Office
                    500 Richard J Daley Center
                    Chicago, IL 60602
                    (312) 603-6299

      2. This Court has jurisdiction over this case pursuant to 28 U.S.C. 1331, as Plaintiff’s

      Complaint includes causes of actions for violations of Plaintiff’s rights

      under the federal Constitution, as enforced under federal law, 28 U.S.C. 1983.

      3. Plaintiff’s Complaint raises five causes of action:


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              a. Count I - Fourteenth Amendment 42 U.S.C. § 1983 – Failure to Protect Claim by

              Defendants, brought under Section 1983.

              b. Count II - Fourteenth Amendment State Created Danger claim, brough under

              Section 1983.

              c. Count III - Illinois state law claim for willful and wanton negligence.

              d. Count IV -Illinois state law Respondeat Superior claim against Defendants.

              Cook County Sheriff Thomas Dart, as employer of individual Defendant officers.

              e. Count V - Indemnification claim against County of Cook.

      4. Plaintiff asserts the principal factual issues in this case relate to whether the lock on the

      door separating the Plaintiff from her rapist was operable and whether Defendants knew

      said lock was operable as well as whether Defendants had an opportunity to prevent

      Plaintiff’s sexual assault. Plaintiff further contends that another principal legal issue in this

      case is whether the Defendants had a duty to prevent the sexual assault under Federal Law

      and Illinois State Law.

              On the other hand, Defendants deny Plaintiff’s claims and assert one of the major

      factual issues is whether Plaintiff willfully engaged in consensual sexual contact with

      another inmate; thereby defeating her legal claims in this case.

      5. In addition, Plaintiff has demanded a trial by jury, seeks compensatory and

      punitive damages, and reasonable attorney’s fees and costs as are incurred in

      prosecuting this case. Plaintiff strongly anticipates an itemization of medical records that

      has not yet been received. Investigation continues.

B. Pending Motions and Case Plan

      1. All named Defendants have been served with process.




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       2. Currently, there are no pending motions before the Court.

       3. Plaintiff and Defendants propounded Initial Disclosures. No discovery requests were

propounded. Both parties have engaged in preliminary independent investigations. At this time,

the parties do not anticipate that discovery will encompass electronically stored information. To

the extent that discovery is anticipated to encompass such materials, the parties will address this

issue at that time. Proposed scheduling order:

               a. Rule 26(a)(1) disclosures on or before: September 30, 2022.

               b. Written discovery to be issued on or before October 14, 2022.

               c. Completion of fact discovery by June 30, 2023.

               d. The parties would like to set an expert discovery schedule, if needed, at

               the close of fact discovery.

               g. The parties would like to set a dispositive motion deadline for July 28, 2023.

       4. Plaintiff and Defendants demanded a jury trial.

       5. At this time, the parties do not expect trial to take more than five days.

       6. The Parties agree to service of pleadings and other papers by electronic means under

Federal Rule of Civil Procedure 5(b)(2)(E).

C. Consent to Proceed Before a Magistrate Judge

       1. Plaintiff does not consent to proceed before a magistrate judge for all purposes.

D. Status of Settlement Discussions

       1. Plaintiff propounded a settlement demand on August 5, 2022. Defendants rejected

       Plaintiff’s demand during their meeting pursuant to Federal Rule of Civil Procedure 26(f)

       conference on September 21, 2022. Defendants will respond to Plaintiff’s demand after

       investigation and discovery are complete.




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       2. The parties do not request a settlement conference at this time.


Dated: September 28, 2022

Respectfully submitted,

                                                     For Plaintiff

                                                     /s/ Brian Orozco___
                                                     Brian Orozco
                                                     Plaintiff’s Attorney

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                                                     For Defendants

                                                     /s/Antonio Lee
                                                     Antonio Lee
                                                     Amanda Christine Guertler
                                                     Assistant State’s Attorneys
                                                     Cook County State’s Attorney’s Office
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